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                        CERTIFICATION BY TRANSLATOR


I, Aleksei Timashkov, certify that I am competent to translate in the English and Russian
languages and that the above/attached document is a complete and accurate translation of the
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                        Public Joint Stock Company
                        “Sberbank of Russia”
                        Interim Condensed
                        Consolidated Financial Statements
                        and Review Report
                        June 30, 2016
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[Logo of Sberbank of Russia]
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[Logo of PWC]

Review Conclusion on the Interim Condensed Consolidated Financial Statements
To the Shareholders and the Supervisory Board of PJSC Sberbank
Introduction
We have reviewed the accompanying interim condensed consolidated financial statements of PJSC
Sberbank and its subsidiaries (hereinafter referred to as the “Group”), which comprise the interim
consolidated statement of financial position as of June 30, 2016, and the related interim consolidated
statements of profit or loss and comprehensive income for the three and six months then ended, the
interim consolidated statements of changes in equity and cash flows for the six months then ended,
and selected explanatory notes. The management is responsible for the preparation and presentation
of this interim condensed consolidated financial information in accordance with International
Financial Reporting Standard (IAS) 34 “Interim Financial Reporting.” Our responsibility is to express
a conclusion on this interim condensed consolidated financial information based on our review.
Scope of Review
We conducted our review in accordance with Federal Auditing Rule (Standard) No. 33 “Review of
Financial (Accounting) Statements” and International Standard on Review Engagements (ISRE) 2410
“Review of Interim Financial Information Performed by the Independent Auditor of the Entity.” A
review of interim condensed consolidated financial statements is limited to inquiries of company
personnel, primarily responsible for financial and accounting matters, and analytical and other review
procedures. The scope of a review is substantially less than that of an audit conducted in accordance
with federal auditing standards and International Standards on Auditing, and therefore, the review
does not allow us to obtain assurance that we would become aware of all significant matters that
might be identified during an audit. Accordingly, we do not express an audit opinion.
Conclusion
Based on our review, nothing has come to our attention that causes us to believe that the
accompanying interim condensed consolidated financial statements have not been prepared, in all
material respects, in accordance with International Accounting Standard (IAS) 34 "Interim Financial
Reporting."
                      [Handwritten note: JSC “PricewaterhouseCoopers Audit”]

August 24, 2016
Moscow, Russian Federation
[Signature]
[Seal with the logo of JSC PWC: Joint Stock Company / Moscow * Joint Stock Company
PricewaterhouseCoopers Audit”]

E.N. Kriventsev, Director (qualification certificate No. 01-000198),
JSC "PricewaterhouseCoopers Audit"
 Audited entity: Public Joint Stock Company:     Independent Auditor: JSC “PricewaterhouseCoopers Audit”
 “Sberbank of Russia”
 Date of entry into the Unified State Register   Certificate of state registration No. 008.890 issued by the Moscow
 of Legal Entities (EGRUL): August 16, 2002,     Registration Chamber on February 28, 1992.
 OGRN: 1027700132195                             Certificate of entry into the Unified State Register of Legal Entities
                                                 (EGRUL) issued on August 22, 2002, under No. 1027700148431
 Russia, Moscow, 117997, Vavilova St., 19
                                                 Certificate of membership in the Self-Regulating Organization of Auditors
                                                 NP "Auditor Chamber of Russia" No. 870. ORNZ in the register of auditors
                                                 and audit organizations: 10201003683



JSC "PricewaterhouseCoopers Audit," Butyrsky Val St., 10, Moscow, Russian Federation, 125047
T: +7 495 967 6000, F: +7 495 967 6001, www.pwc.ru
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[Logo of PJSC “Sberbank of Russia”]
Interim Consolidated Statement of Financial Position
                                                                              June 30, 2016                  December 31,
(in billions of Russian rubles)                                 Note        (unaudited data)                     2015
ASSETS
Cash and Cash Equivalents                                                           1,951.6                       2,333.6
Mandatory Reserves with Central Banks                                                411.5                         387.9
Financial Assets Revaluated at Fair Value
Through Profit or Loss                                            5                  715.3                         866.8
Due from Banks                                                    6                  783.2                         750.6
Loans and Advances to Customers                                   7                17,946.9                      18,727.8
Securities Pledged Under Repo Agreements                          8                  141.2                         222.0
Available-for-Sale Investment Securities                          9                 2,085.2                       1874.3
Held-to-Maturity Investment Securities                           10                  471.5                         477.7
Deferred Tax Asset                                                                    16.5                          17.3
Fixed Assets                                                                         484.8                         499.2
Assets and Liabilities of Disposal Groups and Non-Current
Assets Held for Sale                                             11                  128.7                         212.7
Other Financial Assets                                           12                  344.6                         671.0
Other Non-Financial Assets                                       12                  313.0                         293.8
TOTAL ASSETS                                                                       25,794.0                      27,334.7
LIABILITIES
Due to Banks                                                     13                  651.7                        1,045.9
Due to Individuals                                               14                11,957.1                      12,043.7
Due to Corporate Clients                                         14                 6,830.2                       7,754.6
Issued Debt Securities                                           15                 1,305.9                       1,378.5
Other Borrowings                                                                     319.5                         398.0
Financial Liabilities Revaluated at Fair Value
Through Profit or Loss, Excluding Issued Debt Securities         16                  262.5                         426.6
Deferred Tax Liability                                                                91.0                         132.0
Liabilities of Disposal Groups                                   11                  106.7                         185.9
Reserves for Insurance and Pension Fund Activities               17                  439.9                         323.6
Other Financial Liabilities                                      17                  357.1                         397.6
Other Non-Financial Liabilities                                  17                   92.2                          66.8
Subordinated Loans                                               18                  775.9                         806.5
TOTAL LIABILITIES                                                                  23,189.7                      24,959.7
EQUITY
Share Capital                                                                         87.7                          87.7
Own Shares Bought Back from Shareholders                                             (6.9)                          (6.7)
Additional Paid-In Capital                                                           232.6                         232.6
Revaluation Reserve for Office Property                                               67.4                          69.3
Revaluation Reserve for AFS Securities                                                16.6                         (45.7)
Accumulated Foreign Currency Translation Reserve                                      50.1                         101.1
Changes in Accounting for Defined Benefit Pension Plan
Liabilities                                                                          (1.3)                          (0.7)
Retained Earnings                                                                   2,155.4                       1,935.2
Total Equity Attributable to Bank’s Shareholders                                    1,789.8                       1,611.0
Non-Controlling Interest                                                               9.7                          12.8
TOTAL EQUITY                                                                        1,799.5                       1,623.8
TOTAL LIABILITIES AND EQUITY                                                       16,689.4                      15,097.4
Approved and signed on behalf of the Board on August 24, 2016.
[Signature]                                                              [Signature]
H.O. Gref                                                                M.Y. Lukyanova
President, Chairman of the Board                                         Chief Accountant
                                        Notes 1–36 form an integral part of this interim condensed consolidated financial information.
                                                                                                                               Page 1
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Selected Notes to the Interim Condensed
Consolidated Financial Statements - June 30, 2016

11. Assets and Liabilities of Disposal Groups and Non-Current Assets Held for Sale

                                                                       June 30, 2016         December 31,
(in billions of Russian rubles)
                                                                         (unaudited)                2015

Assets of disposal groups and non-current assets held for sale

- assets of disposal groups                                                   123.2                 207.4

- non-current assets held for sale                                               5.5                  5.3

Total assets of disposal groups and non-current assets held for sale          128.7                 212.7

Liabilities of disposal groups                                                106.7                 185.9

Total liabilities of disposal groups                                          106.7                 185.9


Non-current assets held for sale consist of non-current assets held for sale owned by the Group's
subsidiaries.

On December 17, 2015, the Group's management announced a plan to sell its subsidiary, Sberbank
Slovensko a.s., located in Slovakia. According to the signed agreement, the Penta Investments group
will become the new owner of 99.5% of the shares of Sberbank Slovensko a.s. The decision to sell
Sberbank Slovensko a.s. was made in line with Sberbank Europe AG’s strategic vision for its
international presence. The parties agreed not to disclose the transaction amount. The deal was closed
in July 2016, when the ownership rights for the shares of Sberbank Slovensko a.s. were transferred.
As of June 30, 2016, Sberbank Slovensko a.s. was classified by the Group under non-current assets
held for sale. See Note 36.

In May 2016, following the fulfillment of conditions agreed upon by the parties, the ownership rights
for 96.914% of the share capital of Private Joint Stock Company “Krasnaya Polyana” were transferred.
As a result, the Group relinquished control of Private Joint Stock Company “Krasnaya Polyana” to
the buyer. The sale of Private Joint Stock Company “Krasnaya Polyana” shares resulted in the Group
recognizing a gain of RUB 12.2 billion, which is included in the line item “other net operating income”
in the interim consolidated statement of profit or loss.




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Selected Notes to the Interim Condensed
Consolidated Financial Statements - June 30, 2016

11. Assets and Liabilities of Disposal Groups and Non-Current Assets Held for Sale

                                                                                     Private Joint Stock
                                                                                         Company
                                                                     Sberbank
                                                                   Slovensko a.s.        “Krasnaya
                                                                                          Polyana”
                                               June 30, 2016     December 31, 2015   December 31, 2015
(in billions of Russian rubles)              (unaudited data)
ASSETS
Cash and Cash Equivalents                          4.4                   3.6                 0.5
Mandatory Reserves with Central Banks             13.1                  12.8                  -
Due from Banks                                     0.3                    -                   -
Loans and Advances to Customers                   83.6                 106.1                  -
Available-for-Sale Investment Securities          18.3                  18.2                  -
Deferred Tax Asset                                 0.7                   1.3                 0.6
Fixed Assets                                        -                     -                 39.0
Other Financial Assets                             0.2                   0.1                 1.4
Other Non-Financial Assets                         0.8                   1.0                21.3
TOTAL ASSETS OF DISPOSAL GROUPS                   121.4                143.1                62.8
LIABILITIES
Due to Banks                                        0.1                  2.5                52.7
Due to Individuals                                 67.0                 74.7                  -
Due to Corporate Clients                           30.4                 38.8                  -
Issued Debt Securities                              2.9                  3.3                  -
Other Borrowings                                    1.8                  2.0                  -
Deferred Tax Liability                               -                    -                  1.8
Other Financial Liabilities                         2.2                  2.5                  -
Other Non-Financial Liabilities                     1.6                  1.4                 5.9
TOTAL LIABILITIES OF DISPOSAL GROUPS              106.0                125.2                60.4




                                                                                                   Page 34
